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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   ULTRAVISION TECHNOLOGIES, LLC,                  §
                                                   §
                          Plaintiff,               §       Case No. 2:19-cv-00291-JRG-RSP
   v.                                              §                  (Lead Case)
                                                   §
   HOLOPHANE EUROPE LIMITED,                       §          JURY TRIAL DEMANDED
   ACUITY BRANDS LIGHTING DE                       §
   MEXICO S DE RL DE CV,                           §
   HOLOPHANE, S.A. DE C.V. and                     §
   ARIZONA (TIANJIN) ELECTRONICS                   §
   PRODUCTS TRADE CO. LTD.,                        §
                                                   §
                          Defendants.              §
                                                   §
   ULTRAVISION TECHNOLOGIES, LLC,                  §
                                                   §       Case No. 2:19-cv-00398-JRG-RSP
                          Plaintiff,               §                (Member Case)
   v.                                              §
                                                   §          JURY TRIAL DEMANDED
   YAHAM OPTOELECTRONICS CO., LTD.,                §
                                                   §
                          Defendants.              §


               DECLARATION OF WEIMIN NING IN SUPPORT OF
    OPPOSED MOTION TO STRIKE PORTIONS OF THE EXPERT REPORTS OF ZANE
      COLEMAN AND STEPHEN E. DELL CONCERNING UNACCUSED PRODUCTS

          I, Weimin Ning, hereby declare as follows:

          I am an attorney at the law firm of Orrick, Herrington & Sutcliffe. I am licensed to practice

   law in New York, New Jersey and D.C.. I submit this declaration in support of Defendant Yaham

   Optoelectronics Co., Ltd.’s (“Yaham”) Motion to Strike Portions of the Expert Reports of Zane

   Coleman and Stephen E. Dell Concerning Unaccused Products. I affirm that the facts stated in

   this declaration are true and correct and, if called as a witness, I could and would testify

   competently thereto.
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           1.     Attached hereto as Exhibit 1 is a true and correct copy of Ultravision’s Disclosure

   of Asserted Claims and Infringement Contentions, dated January 28, 2020.

           2.     Attached hereto as Exhibit 2 is a true and correct copy of the Expert Report of Zane

   Coleman Regarding Infringement of U.S. Patent No. 8,870,410, dated October 19, 2020.

           3.     Attached hereto as Exhibit 2-1 is a true and correct copy of excerpt from

   Attachment B to the Expert Report of Zane Coleman Regarding Infringement of U.S. Patent No.

   8,870,410, dated October 19, 2020

           4.     Attached hereto as Exhibit 3 is a true and correct copy of the Expert Report of

   Stephen E. Dell, CVA, Relating to Damages re: Yaham, dated October 19, 2020.

           5.     Attached hereto as Exhibit 4 is a true and correct screen capture of webpage

   displaying Yaham products.

           6.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts from

   Ultravision’s First Set of Interrogatories dated March 12, 2020.

           7.     Attached hereto as Exhibit 6 is a true and correct copy of excerpts from Yaham’s

   First Supplemental Responses to Ultravision’s First Set of Interrogatories dated September 15,

   2020.

           8.     Attached hereto as Exhibit 7 is a true and correct copy of YAHAM-LT-00016453-

   YAHAM-LT-00016454.

           9.     Attached hereto as Exhibit 8 is a true and correct copy of YAHAM-LT-00021105-

   YAHAM-LT-00021106.

           I declare under penalty of perjury that the foregoing is true and correct. Executed on

   November 23, 2020, in Green Brook, New Jersey.



                                                        Weimin Ning


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